24-10193-cgb Doc#86 Filed 06/20/24 Entered 06/20/24 23:24:32 Imaged Certificate of
                                Notice Pg 1 of 4




 SO ORDERED.
 SIGNED this 18th day of June, 2024.

                                                      ________________________________________
                                                              CHRISTOPHER G. BRADLEY
                                                         UNITED STATES BANKRUPTCY JUDGE
 ________________________________________________________________



                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

                                                  §
  In re:                                          §
                                                  §                    Chapter 11
  WELLS SOLAR & ELECTRICAL
                                                  §
  SERVICES, LLC,
                                                  §                Case No. 24-10193
           Debtor.                                §
                                                  §

                 ORDER GRANTING ENFIN CORP.’S MOTION FOR RELIEF
                             FROM AUTOMATIC STAY

           On this day came to be considered Creditor EnFin Corp.’s (“EnFin”) Motion for Relief

 from Automatic Stay (“Motion”). After considering the Motion, its exhibits, any briefing support-

 ing or opposing the relief sought therein, the arguments of counsel, and the Court’s entire file, the

 Court finds that the Motion has merit and should be GRANTED.

           It is therefore ORDERED that EnFin’s Motion for Relief from Automatic Stay is

 GRANTED, lifting the stay for the claims that EnFin is pursuing outside of this Court against non-

 debtors Carl Wells and Ferrin DeLoach, and that any objections thereto are entirely OVERRULED.



                                                  1
24-10193-cgb Doc#86 Filed 06/20/24 Entered 06/20/24 23:24:32 Imaged Certificate of
                                Notice Pg 2 of 4


          It is further ORDERED that there shall be no 14-day stay after the entry of this Order under

 Federal Rule of Bankruptcy Procedure Rule 4001, and EnFin may proceed with the prosecution of

 its claims against non-debtors Carl Wells and Ferrin DeLoach immediately upon entry of this

 Order.

          This is a final and appealable Order.

                                                  ###




                                                   2
           24-10193-cgb Doc#86 Filed 06/20/24 Entered 06/20/24 23:24:32 Imaged Certificate of
                                           Notice Pg 3 of 4
                                                                United States Bankruptcy Court
                                                                  Western District of Texas
In re:                                                                                                                   Case No. 24-10193-cgb
Wells Solar & Electrical Services LLC                                                                                    Chapter 11
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0542-1                                                    User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 18, 2024                                                 Form ID: pdfintp                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 20, 2024:
Recip ID                  Recipient Name and Address
cr                      + EnFin Corp., c/o Misty A. Segura, Spencer Fane LLP, 3040 Post Oak Blvd., Ste. 1400, Houston, TX 77056 UNITED STATES
                          77056-6584

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 20, 2024                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 18, 2024 at the address(es) listed below:
Name                                Email Address
Abigail Ventress
                                    on behalf of Creditor Ben "Benny" Koonce abigail@vbpenalaw.com paralegal@vbpenalaw.com;Blayre@vbpenalaw.com

Abigail Ventress
                                    on behalf of Creditor Rebecca "Becky" Koonce abigail@vbpenalaw.com paralegal@vbpenalaw.com;Blayre@vbpenalaw.com

Andrew Lamb Pattillo
                                    on behalf of Creditor Clark Roofing and Construction Inc. pattillo@thetexasfirm.com

Charles Murnane
                                    on behalf of Debtor Wells Solar & Electrical Services LLC murnaneci@yahoo.com
                                    cchristensen@bn-lawyers.com;plevine@bn-lawyers.com;mcalderon@bn-lawyers.com

David D. Ritter
                                    on behalf of Creditor Dror Baldinger dritter@ritterspencer.com

David D. Ritter
         24-10193-cgb Doc#86 Filed 06/20/24 Entered 06/20/24 23:24:32 Imaged Certificate of
                                         Notice Pg 4 of 4
District/off: 0542-1                                             User: admin                                                            Page 2 of 2
Date Rcvd: Jun 18, 2024                                          Form ID: pdfintp                                                      Total Noticed: 1
                               on behalf of Creditor Faith Bushen dritter@ritterspencer.com

David D. Ritter
                               on behalf of Creditor De Sossamon dritter@ritterspencer.com

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                               on behalf of Creditor Joe Pohlman dritter@ritterspencer.com

David D. Ritter
                               on behalf of Creditor Steve Jernigan dritter@ritterspencer.com

David D. Ritter
                               on behalf of Creditor M Judge dritter@ritterspencer.com

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                               davidnstern@gmail.com;mcalderon@bn-lawyers.com;plevine@bn-lawyers.com;cchristensen@bn-lawyers.com

Gary W. Wright
                               on behalf of U.S. Trustee United States Trustee - AU12 gary.wright3@usdoj.gov

Jamie Kirk
                               on behalf of Creditor Texas Comptroller of Public Accounts Revenue Accounting Division bk-jkirk@texasattorneygeneral.gov,
                               sherri.simpson@oag.texas.gov

Jon Maxwell Beatty
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Misty Ann Segura
                               on behalf of Creditor EnFin Corp. msegura@spencerfane.com misty-segura-9690@ecf.pacerpro.com

Richard Alan Fulton
                               on behalf of Creditor Rexel USA Inc. rfulton@coatsrose.com, vhernandez@coatsrose.com

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United States Trustee - AU12
                               ustpregion07.au.ecf@usdoj.gov


TOTAL: 24
